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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


_________________________________________
STEPHEN BARBEE,                           §
                                          §
              Plaintiff,                  §                       Civil Action
                                          §                     No. 4:21-cv-03077
        vs.                              §
                                         §
BRYAN COLLIER, et al,                   §
                                        §
             Defendants.                §
_______________________________________ §


   UNOPPOSED MOTION FOR COURT TO ENTER PRELIMINARY INJUNCTION

       On November 16, 2022, the Fifth Circuit Court of Appeals vacated this Court’s preliminary

injunction while giving guidance as to an appropriate injunction. Barbee v. Collier, No. 22-70012

(5th Cir.). The Court held that “a proper injunction would require Defendants to permit Barbee’s

spiritual advisor to hold Barbee’s hand and to pray at a moderate volume loud enough for Barbee

to hear during the execution.” Barbee v. Collier at *3 (Dennis, J,, concurring). Another concurring

opinion also noted that “the proper remedy is an injunction ordering the accommodation.” Barbee

v. Collier at *4 (Elrod, J, concurring).

       In accordance with that opinion, and the two concurrences that suggested that an injunction

was proper, Plaintiff Stephen Barbee respectfully requests that this Court order the enclosed

proposed preliminary injunction.

                                CERTIFICATE OF CONFERENCE

       Undersigned counsel has consulted with counsel for Defendants, Mr. Stephen M. Hoffman,


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who on November 16, 2022 indicated that he would not oppose this motion.

DATED: November 16, 2022.

              Respectfully submitted,

              s/s A. Richard Ellis
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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION
_________________________________________
STEPHEN BARBEE,                           §
                                          §
              Plaintiff,                  §       Civil Action
                                          §     No. 4:21-cv-03077
        vs.                              §
                                         §
BRYAN COLLIER, et al,                   §
                                        §
             Defendants.                §
_______________________________________ §

                         PROPOSED PRELIMINARY INJUNCTION

       In accordance with the Fifth Circuit Court of Appeals decision today, the following
preliminary injunction is hereby entered:

         A. Stephen Barbee’s spiritual advisor will be permitted to hold Barbee’s hand after Barbee
is secured to the gurney in the execution chamber and the IV lines are in place.
         B. Barbee’s spiritual advisor will be permitted to pray aloud at a moderate volume loud
enough for Barbee to hear throughout the execution process, except that the spiritual advisor shall
be silent any time the Warden or the CID Director speak during the process and when Barbee gives
his last statement.
         C. These accommodations will not be withdrawn so long as Barbee’s spiritual advisor does
not create a disruption to the execution. Even if unanticipated events occur in the execution chamber,
such as the need to inset the IV line in an alternate location, the religious accommodations will still
be honored.

      This order shall be communicated to the CID Director who will be present in the execution
chamber at the time of Mr. Barbee’s execution.

It is so ordered.
Signed on November 16, 2022, at Houston, Texas
                                                       _______________________
                                                       Kenneth M. Hoyt
                                                       United States District Judge




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                   CERTIFICATE OF ELECTRONIC SERVICE

       I, A. Richard Ellis, do hereby certify that I electronically filed the foregoing with the

Clerk of the Court for the United States District Court for the Southern District of Texas, using

the electronic case filing system of the Court on November 16, 2022.


       /s/ A. Richard Ellis
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